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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                             Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



                                JOINT STATUS REPORT

         Michael T. Flynn and Covington & Burling, LLP (“Covington”) file this joint status

report pursuant to the Court’s May 7, 2020 Minute Order. ECF No. 196. By the Minute

Order, the Court ordered Mr. Flynn and Covington to seek to resolve the dispute

regarding Mr. Flynn’s Motion to Compel and Response to Covington & Burling’s

Discovery Certification (“Motion to Compel”). ECF No. 194. The Government

subsequently moved to dismiss the information against Michael Flynn (“Motion to

Dismiss”) on May 7, 2020. ECF No. 198. That same day, Mr. Flynn, in consideration of

the Motion to Dismiss, moved to withdraw all of his pending motions—including the

Motion to Compel—without prejudice (“Motion to Withdraw”). Mr. Flynn’s Motion to

Withdraw is pending.

         Wherefore, Mr. Flynn and Covington, having conferred, jointly request that the

Court order them to provide a further status update within 21 days of a ruling on the

Motion to Withdraw.




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Dated: May 29, 2020                      Respectfully submitted,



/s/                                      /s/
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                            CERTIFICATE OF SERVICE

      I hereby certify that on May 29, 2020 a true and genuine copy of Michael T. Flynn

and Covington & Burling, LLP’s Joint Status Report was served via electronic mail by the

Court’s CM/ECF system to all counsel of record, including:

      Michael Sherwin, U.S. Attorney for the District of Columbia
      Jocelyn Ballantine, Assistant U.S. Attorney
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                                               Respectfully submitted,

                                               /s/ Jesse R. Binnall
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